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          11

          12                                 UNITED STATES DISTRICT COURT

          13                             NORTHERN DISTRICT OF CALIFORNIA

          14

          15   WHATSAPP INC., a Delaware corporation,         Case No. 4:19-cv-07123-PJH
               and FACEBOOK, INC., a Delaware
          16   corporation,                                   DECLARATION OF DANIEL J. GROOMS IN
                                                              SUPPORT OF WHATSAPP’S
          17                                                  ADMINISTRATIVE MOTION TO SEAL
                               Plaintiffs,                    DOCUMENTS RELATED TO WHATSAPP’S
          18                                                  MOTION TO DISQUALIFY DEFENSE
                     v.                                       COUNSEL BASED ON PRIOR
          19                                                  REPRESENTATION IN A SEALED MATTER
               NSO GROUP TECHNOLOGIES LIMITED
          20   and Q CYBER TECHNOLOGIES LIMITED,              Judge:    Hon. Phyllis J. Hamilton
                                                              Date:     None required (L.R. 7-11(c))
          21                   Defendants.

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          23

          24                                REDACTED VERSION OF
          25                            DOCUMENT SOUGHT TO BE SEALED

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  COO
                                                                           DECLARATION OF DANIEL J. GROOMS
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                                                         1.                     CASE NO. 4:19-CV-07123-PJH
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